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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
________________________________________________________ X
In. the Matfer ofSearch Warrants Executed on
Aprz'l 9, 2018

________________________________________________________ X
MICHAEL D. COHEN,

Plaintiff,

_against_ 18-MJ-3161 (KMW)
ORDER

UNITED STATES OF AMERICA,

Defendant.
_____________ __ ________X

 

KIMBA M. WOOD, United States District Judge:

In order for the parties to have a fuller report from Special Master Barbara J ones at the
next conference, the Court adjourns the conference previously scheduled for May 24, 2018, to
May 30, 2018, at 10:30 a.rn. in Courtroom 26A.

The Court directs the parties and Proposed Intervenor Stephanie Clifford to tile a joint
letter by May 25, 2018, at 5:00 p.m., setting forth a proposed agenda for the May 30 conference

SO ORDERED.

Dated: Il;~I/[:\;f ;olizcé{\;ew York ( : . : m . W

KIMBA M. WOOD
United States District Judge

 

